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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,                        }
               Plaintiff-Respondent              }
                                                 }
v.                                               }             CRIMINAL ACTION NO. H-95-142-
                                                     03
                                                 }           CIVIL ACTION NO. H-03-2644
PEDRO MORENO                                     }
               Defendant-Petitioner              }


                                      MEMORANDUM & ORDER

       Pending before the court is Movant Pedro Moreno’s Motion to Vacate, Set Aside, or Correct

Sentence under Title 28 United States Code Section 2255 (Instrument No. 5169) and the

Government’s response (Instrument No. 5313). For the following reasons, the court ORDERS that

Pedro Moreno’s Motion to Vacate, Set Aside, or Correct Sentence is DENIED.

I. Facts

       On 10 October 1996, Pedro Moreno (“Moreno”) and seventy-eight co-defendants were

charged under a one hundred and ninety-six count sixth superceding indictment (Instrument No. 19).

The indictment charged Moreno with being a leader of a large criminal organization that, between

1986 and 1996, was responsible for transporting thousands of kilos of marijuana across the border

from Mexico and to destinations throughout the United States.

       On 13 April 1998, Moreno pled guilty pursuant to a plea agreement (Instrument No. 2599).

In exchange for Moreno’s plea of guilty to count five, conspiracy to launder monetary instruments

in violation of Title 18 United States Code Section 1956(g) and (h), and count eighty-eight,

operating a continuing criminal enterprise in violation of Title 21 United States Code Section 848,
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as well as his waiver of appellate rights,1 the Government agreed to dismiss the remaining counts

at sentencing, not oppose a reduction for acceptance of responsibility, and consider Moreno for a

5K1.1 motion should he provide substantial assistance.

         After Moreno entered his plea of guilty, the Probation Department was ordered to generate

a pre-sentence report (“PSR”). In April 2001, Probation issued its final PSR (Instrument No. 4276).

Significantly, Probation recommended adding two points to Moreno’s base offense level for

obstruction of justice and awarding him no points for acceptance of responsibility. This resulted in

a five point swing, taking Moreno from a guideline range of 324 to 405 months to a guideline range

of life. See U.S. Sentencing Guidelines Manual Sentencing Table (2000). Probation’s

recommendation was based on its finding that Moreno had willfully obstructed justice by:

              “paying a co-conspirator, Martin Garcia-Garcia, to flee to Mexico; paying
              a co-conspirator, Lauro Chapa, to omit the defendant’s participation in drug
              trafficking, hiding assets and properties from the Government to prevent
              their seizure/forfeiture; plotting to kill cooperating witnesses/co-
              conspirators; influencing co-conspirators not to provide incriminating
              evidence against him; telling a fictitious story about corrupt law
              enforcement officials to the Government in hopes of gaining a sentencing
              reduction and soliciting a cooperating witness to corroborate the false
              story.”

PSR at ¶ 181.

         Moreno was sentenced on 27 April 2001. The court adopted Probation’s facts and

application of the guidelines to the facts and imposed a sentence of life as to count eighty-eight, to

be followed by five years supervised release, and a sentence of two hundred and forty months as to

count five, to be followed by three years supervised release, both counts to run concurrently.



         1
         The plea agreement provides that Moreno waives his right to appeal his conviction and sentence except for
any upward departure or to allege ineffective assistance of counsel or prosecutorial misconduct in a motion pursuant to
28 U.S.C. § 2255. See Plea Agreement.

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Moreno was fined $5,000,000.00 and ordered to pay special assessment of $100 as to each count.

The court dismissed the remaining counts on the Government’s motion.

          Moreno appealed his sentence to the Fifth Circuit, which affirmed on 23 April 2002. United

States of America v. Pedro Moreno, 01-20509 (5th Cir. 23 April 2002) (Instrument No. 4795). The

sole issue Moreno raised on appeal was whether the indictment failed to sufficiently allege drug

quantity under Apprendi v. New Jersey, 530 U.S. 466 (2000). Id.

          Moreno filed the instant motion on 16 July 2003. His original filing claims only that his trial

counsel rendered him ineffective assistance of counsel by failing to adequately inform him of the

nature and consequences of his plea. See Petitioner’s Motion to Vacate at 5 (Instrument No. 5196).

On 17 March 2004, Moreno supplemented his motion with a memorandum of law (Instrument No.

5281). This memorandum raises three additional claims: that his trial counsel rendered ineffective

assistance by failing to object to the factual basis given at Moreno’s guilty plea; that this court

denied Moreno due process when it ordered the United States Attorney’s Office to provide probation

with factual summarizes for its use in drafting Moreno’s PSR; and that Moreno entered his plea

unknowingly. Additionally, Moreno requests an evidentiary hearing to further develop his claims.

II. Law

          Title 28 United States Code Section 2255 (“Section 2255) provides that,

              A prisoner in custody under sentence of a court established by Act of
              Congress claiming the right to be released upon the ground that the
              sentence was imposed in violation of the Constitution or laws of the United
              States, or that the court was without jurisdiction to impose such sentence,
              or that the sentence was in excess of the maximum authorized by law, or is
              otherwise subject to collateral attack, may move the court which imposed
              the sentence to vacate, set aside or correct the sentence.




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To succeed on a claim based on a violation of federal law, petitioner must show that the law

violation caused a “fundamental defect” in the underlying proceeding resulting in a “complete

miscarriage of justice.” Davis v. U.S. 417 U.S.333, 346 (1974). Claims under Section 2255 are

subject to a one year statute of limitations. Petitioners urging claims for the first time in a Section

2255 motion must show cause and prejudice why the claim was not presented to the appellate court

on direct appeal. Massaro v. United States, 538 U.S. 500, 504 (U.S. 2003); United States v. Samuels,

59 F.3d 526, 528 (5th Cir. 1995). In this context, cause and prejudice means (1) that the claim could

not have been raised on direct appeal and (2) that the error complained of would, if left uncorrected,

result in a miscarriage of justice. Id. Claims of ineffective assistance of counsel are exempted from

this rule, and may be raised for the first time in a collateral attack. Massaro, 538 U.S. at 504.

        Petitioners claiming ineffective assistance of counsel at their guilty pleas must show that

counsel’s performance fell below an objective standard of reasonableness and that they were

prejudiced as a result. Hill v. Lockhart, 474 U.S. 52, 57 (1985). In the context of a guilty plea, to

be effective counsel should give his client an adequate “understanding of the law in relation to the

facts” and help him reach an informed choice. United States v. Rumery, 698 F.2d 764 (5th Cir. 1983)

(quoting Herring v. Estelle, 491 F.2d 125, 128 (5th Cir.1974) (citations omitted)). Prejudice, in the

context of a guilty plea, means that there is a reasonable probability that, but for counsel’s deficient

performance, petitioner would have insisted on going to trial. Hill, 474 U.S. at 59; James v. Cain,

56 F.3d 662, 667 (5th Cir. 1995). This assessment depends, in part, on a prediction of what the

outcome at trial might have been. Armstead v. Scott, 37 F.3d 202, 206 (5th Cir. 1994) (quoting Hill).

III. Application of law to the facts




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        Moreno raises four claims in support of his motion for relief under Section 2255. First,

Moreno claims his attorney rendered ineffective assistance by failing to explain the consequences

of his guilty plea. Second, Moreno claims his attorney rendered ineffective assistance by failing to

object to the factual basis given in support of his guilty plea. Third, Moreno claims the court

violated his due process rights by ordering the United States Attorney’s Office to provide the

Probation Department with written factual summaries to be used in preparing his PSR. Fourth,

Moreno claims his guilty plea was unknowing.

        Before considering Moreno’s claims, the court will consider the Government’s argument that

Moreno forfeited his second, third, and fourth claims by failing to raise them in his original pleading.

Motions under Section 2255 may be amended and supplemented as provided for in Federal Rule of

Civil Procedure 15. United States v. Reyes Saenz, 282 F.3d 354, 355-56 (5th Cir. 2002). Rule 15

allows litigants to amend or supplement their pleadings once before service of a responsive pleading.

FED. R. CIV. P. 15. Here, Moreno filed his memorandum of law in support of his motion, raising

his supplemental claims, before the Government filed its responsive pleading. Therefore, Moreno’s

supplemental claims relate back the filing of his motion and are timely.

        Moreno’s first argument, that he received ineffective assistance of counsel at his guilty plea,

fails to satisfy either the cause or prejudice prongs of the Strickland test. First, as a factual matter,

the record conclusively shows that Moreno discussed his plea with his attorneys and was satisfied

with the counsel they gave him. See Bryan v. United States, 492 F.2d 775, 779-780 (1974)

(affirming district court’s denial of Section 2255 motion, without holding a hearing, where Movant

“tendered only his own affidavit to counter a record composed of the directly inconsistent former

testimony by himself . . .”); see also Blackledge v. Allison, 431 U.S. 63, 73-74 (1977) (“Solemn


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declarations in open court carry a strong presumption of verity.”). Moreno testified at his guilty plea

that he had read the plea agreement and indictment, had reviewed both documents with his attorney,

fully understood the agreement and indictment, understood he was facing a maximum possible

sentence of life in prison, and was satisfied with the counsel and representation he had received from

his attorneys. See Transcript of Rearraignment Proceedings (Instrument No. 2701). In addition to

Moreno’s statements on the record, Moreno’s attorney added that, she had had a lengthy discussion

with her client the morning of his guilty plea. Id.

       Even if the court accepted Moreno’s representation that his attorney’s performance fell

below an objective level of reasonableness, it would still conclude that he has not shown he would

have insisted on proceeding to trial. Moreno’s primary argument, that he would not have pled guilty

had he known he was facing life in prison, is refuted by his statements on the record. Id.

Additionally, the evidence against Defendant was overwhelming and, had he proceeded to trial, he

almost certainly would have been convicted and sentenced to life in prison. By pleading guilty to

the charge, Moreno gained the possibility of a three point reduction in his offense level for

acceptance of responsibility and the possibility of recieving a downward departure pursuant to

5K1.1. All told, had Moreno accepted responsibility for his crimes, truthfully debriefed with the

Government, and otherwise kept his peace, he could have expected a sentence of at most 324

months. Instead, Moreno chose to not accept responsibility for his crimes, lie to the Government,

and, among other acts of obstruction, plot to murder Government witnesses. The only person

Moreno can hold responsible for his sentence is himself.

       Moreno’s claim that he received ineffective assistance of counsel when his attorney failed

to object to the factual basis for his guilty plea is also meritless. Federal Rule of Criminal Procedure


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11 requires the trial judge to be subjectively satisfied that a factual basis exists for the plea. United

States v. Dayton, 604 F.2d 931, 938 (5th Cir. 1979) (en banc); see also United States v. Adams, 961

F.2d 505, 509 (5th Cir. 1992) (“If sufficiently specific, an indictment or information can be used as

a the sole source of the factual basis for a guilty plea”) (internal citations omitted). Here, Moreno

argues that a sufficient factual basis did not exist because the Government did not discuss drug

weights. This claim is belied by the record. The transcript reflects that the Government stated it

could prove that Moreno’s organization had been responsible for transporting “multithousand kilos

of marijuana” and that on one occasion members of the conspiracy were caught with two thousand

pounds of marijuana. See Transcript of Rearraignment at 48.

        Moreno’s claim that the court violated his due process rights by ordering the United States

Attorney’s Office to provide factual summaries to the Probation department for its use in drafting

Moreno’s PSR is procedurally barred. Moreno did not present this claim to the appellate court on

direct appeal, and has not made any argument why this failure should be excused. Moreover, even

if Moreno’s claim was not procedurally barred, it is meritless. Probation routinely compiles the

offense conduct section in the PSR by interviewing case agents and reviewing their investigative

reports. In this case, there were few investigative reports and Probation was having trouble

scheduling interviews with the case agents. Because this court was becoming concerned about the

amount of time being taken to write Moreno’s PSR, it ordered the Government to prepare, in

consultation with the case agents, written summaries of the offense conduct. Probation’s response

to Moreno’s contemporaneous objection reflects that, by the time it received the Government’s

summaries, it had already completed nine-tenths of the offense conduct section. See Final




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Presentence Report (Instrument No. 4276).2 Probation’s response also states that it confirmed the

remaining information through interviews with the case agents. Id.

         Like his due process claim, Moreno’s claim that his plea was unknowing is procedurally

barred. It is also conclusively disproved by the record evidence. Moreno argues that he would not

have enterred a plea of guilty had he known that the Government would write his PSR, or that there

was an insufficient factual basis in the record for his plea. As the court has already explained,

Moreno’s PSR was written by Probation and contains no irregularities. Furthermore, an adequate

factual basis existed for Moreno’s guilty plea.

IV. Conclusion

         For the aforementioned reasons, the Court ORDERS that Movant Pedro Moreno’s Motion

to Vacate, Set-Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255 is DENIED.

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            Probation’s response, in its entirety, states:
Response: As in any case, the facts contained in the Offense Conduct section are built from the investigative reports
prepared by the case agents and through our interviews of them. Because there were few investigative reports prepared
in this case and due to conflicts with schedules, this office was losing precious time having to have the agents come in,
read from their notes which the lead writer would then memorialize. The court became concerned, as was this office,
in the length of time the defendants were spending in jail prior to sentencing. It made sense to the Court, to require the
agents to “memorialize” their investigation, so that this office could prepare the PSRs more efficiently. It should be
noted that prior to the Court’s order of October 18, 2000,this office had already prepared nine-tenths of the Offense
Conduct section. The remaining one-tenth dealt with a few issues needing further clarification and research, but
primarily dealt with the facts contained in the Obstruction of Justice section. While the lead writer had met several times
with the agents concerning the defendant’s debriefing and “false story,” the details concerning those incidents lay
primarily in the agents’ personal notes, which had not been formally memorialized. As noted in the Court’s order, the
Government was only given two weeks to turn over their information to this office. Following the Court’s order, the lead
writer turned over questions that still needed answering or further clarification and asked the agents and prosecutor to
memorialize their notes regarding their interviews of the CI and the defendant relative to the obstruction of justice. After
this office received the draft provided by counsel for the Government, the lead writer again re-interviewed the agents
and edited the information provided. Further, the defendant was provided an opportunity at his interview with the
probation office to provide any information he had concerning the facts of this case. He chose not to do so. On or about
October 18, 1999, this office met with the defendant’s defense team, along with several other attorneys for the Moreno
brothers to discuss concerns and issues about the case that might impact sentencing. On October 19, 1999, this office
provided a copy of the overview (with permission of the Court) to defense counsel and requested in writing specific
information from 1999, this office left a voice mail message with defense counsel requesting a statement from the
defendant and asked that it be submitted to our office by January 2, 2001. Again, there was no response. At no time
was the independence of this office compromised, in either the initial finding of fact or the application of the Sentencing
Guidelines.


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  SIGNED at Houston, Texas, this 27th day of September, 2006.




                                             ______________________________________
                                                      MELINDA HARMON
                                               UNITED STATES DISTRICT JUDGE




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